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                   EXHIBIT B
Firefox                                               https://outlook.office.com/mail/search/id/AAQkAGYzNzhhZDUzL...
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          Depositions
          Jacques Catafago <jcatafago@icloud.com>
          Tue 10/13/2020 1=23 PM
          To: alan.heller@foster.com <alan.heller@foster.com>
          Cc: Adam Sherman <adam@catafagofini.com>
          Hi Alan:

          If we are not settling we need to get moving in short order with depositions.

          Please let me know what dates work for you, whose testimony you need, when you can
          produce your client and whether we are looking at remote depositions.

          Thx,

          Jacques Catafago, Esq.
          CATAFAGO FINI LLP
          The Empire State Building
          350 Fifth Avenue, suite 7710
          New York, New York 10118
          212.239-9669 tel
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                   Case 1:18-cv-09352-SN Document 102-2   Filed 10/29/20 Page 3 of 3



          Notice of Abandonment - 13379-14.pdf
          Jacques Catafago <jacques@catafagofini.com>
          Sat 10/17/2020 10<01 AM
          To: Alan Heller <alan.heller@foster.com>


            2 attachments (89 KB)
          Notice of Abandonment - 13379-14.pdf; ATT00001.htm;



          Alan:

          Please let me know about settlement or deposition dates ASAP.

          Additional patent info attached:




1 of 1                                                                                           10/28/20, 11:44 AM
